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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION


                                                                      A:21-mc-675 RP
                                              ORDER


In re: Robert Tauler

       On September 16, 2020, Robert Tauler applied for admission to the U.S. District Court for
the Western District of Texas. Pursuant to Rule AT-1(d) of the Local Rules, his application
(“Application”) was referred to the Admissions Committee of the Austin Division of the Western
District of Texas (“Committee”). On February 16, 2021, the Committee recommended that Mr.
Tauler’s Application be denied based on his failure to provide truthful answers to questions 15 (b)
and (c) on the Application form and a supplemental question submitted by the Committee. Mr.
Tauler submitted a timely request for a review of the Committee’s recommendation. Accordingly, a
hearing on Mr. Tauler’s request for review will be held via Video Conference on September 3, 2021
at 1:30pm. The Courtroom Deputy will send out the invitation link by email prior to the hearing.


       SIGNED this 2nd day of August, 2021.




                                                      ROBERT PITMAN
                                                      U.S. DISTRICT JUDGE
